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                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                            )    Chapter 7
                                                  )    Case No. 19-10236
Johnson Publishing Company, LLC,                  )
                                                  )    Hon. Jack B. Schmetterer
                       Debtor.                    )
                                                  )
                                                  )

  NOTICE OF ADJOURNMENT OF AUCTION FOR SALE OF DEBTOR’S ARCHIVE

         Miriam R. Stein, not individually but solely as chapter 7 trustee (the “Trustee”) of the

estate of Johnson Publishing Company, LLC (the “Debtor”), pursuant to the discretion reserved

for her as Trustee in the court-approved Bidding Procedures [Dkt. 77] governing the auction and

sale of (i) the Debtor’s iconic archive of photos and other media items documenting African-

American history for over 70 years and (ii) certain related assets (collectively, the “Archive

Assets”), hereby files this notice of adjournment of the auction she held for the sale of the

Archive Assets on July 17, 2019 (the “Auction”). The Auction has been adjourned to Monday,

July 22, 2019 at 2 PM CST and will be held telephonically among the Trustee, her advisors and

the respective bidders and their advisors at a dial in number that has been provided by the

Trustee’s counsel (the “Continued Auction”).     Bidders who appeared at the initial Auction are

free to place additional bids at the Continued Auction, subject to the same terms as set forth in

the Bid Procedures.

Dated: July 18, 2019                            Miriam R. Stein, not individually, but solely in her
                                                capacity as the chapter 7 trustee for the
                                                bankruptcy estate of Johnson Publishing
                                                Company, LLC


                                                By:    /s/ N. Neville Reid
                                                Fox, Swibel, Levin & Carroll, LLP,
                                                General Bankruptcy Counsel to the Trustee
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                                CERTIFICATE OF SERVICE

       I, N. Neville Reid, certify that on July 18, 2019, I caused a copy of the foregoing
NOTICE OF FILING and NOTICE OF ADJOURNMENT OF AUCTION FOR SALE OF
DEBTOR’S ARCHIVE, to be filed electronically through the Court’s CM/ECF filing system
and to be served upon the attached Service List by the Court’s ECF filing system, and as
otherwise indicated.

                                                    /s/ N. Neville Reid
                                                    N. Neville Reid


                                       SERVICE LIST

Party to receive notice electronically via CM/ECF:

Patrick S Layng, U.S. Trustee
USTPRegion11.ES.ECF@usdoj.gov

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hla@ag-ltd.com

Steven B Chaiken, counsel to the Debtor
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Randall Klein and
Eva D. Gadzheva, counsel to creditor Desiree G. Rogers
Randall.Klein@GoldbergKohn.com
Eva.Gadzheva@GoldbergKohn.com

J. Mark Fisher, counsel to Linda Johnson Rice
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Brian Greer, counsel to Capital Holdings V, LLC
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John M George and
Mason W Kienzle, counsel to World Wide Packaging, LLC
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Elizabeth E Richert, counsel to Branden R Bell, Brian E. Bell, Karen K. Bell, Richard E. Bell
erichert@crottylaw.com
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Party to receive notice via Overnight Mail:

Johnson Publishing Company, LLC
200 S. Michigan Ave., Suite 900
Chicago, IL 60604
dba Fashion Fair Cosmetics

Bidders (emailed to representatives of bidders who appeared at the July 17, 2019 auction,
but their names are not reprinted here due to confidentiality concerns)

Hilco Global

Ben Kaplan                                    Gabe Fried
bkaplan@hilcoglobal.com                       gfried@hilcoglobal.com
